      Case 2:18-cv-02247-CM-JPO Document 19 Filed 09/28/18 Page 1 of 3



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                                                                                 TIMOTHY ~I. 0 llRIEN cu:.RK
                                                                                By~                   Deputy




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

JEFFREY S. GREEN,                            )
                                             )
                      Plai:r;itiff,          )
                                             )
       vs.                                   )       Case No. 2:18-cv-02247-CM-GLR
                                             )
CHRISTIAN BLAKE [sic CHRISTIAN               )
     BLAKE FISHER] and                       )
     JOSHUA R. LEONARD,                      )
                                             )
                     Defendants.             )

  DEFENDANTS' MOTION TO DISMISS FOR LACK OF SUBJECT MATTER
               JURISDICTION AND OTHER REASONS

       COME NOW Defendants CHRISTIAN BLAKE and JOSHUA LEONARD, individually,

and collectively, as the majority of members of the 63'd Street Enterprises, LLC, and move this

Court to dismiss Plaintiffs Complaint for Breach of Fiduciary Duty, Misrepresentation,

Conversion, and Accounting ("Complaint"). Plaintiffs Complaint should be dismissed for the

following reasons:

       1.     Kansas' statutory choice-of-law statute for foreign limited liability companies has

              been repealed, but Plaintiffs claims still fail under Kansas common law such that

              Oregon law applies to his substantive tort claims.

       2.     All of Plaintiffs claims are derivative of claims which should have been asserted

              by the Oregon LLC as Plaintiff, but Plaintiff did not comply with Rule 23 .1,

              F.R.Civ.P., in filing his Complaint.


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       Case 2:18-cv-02247-CM-JPO Document 19 Filed 09/28/18 Page 2 of 3




         3.     The 63'd Street Enterprises, LLC is a necessary and indispensible party under Rule

                19, F.R.Civ.P., because no substantive relief can be granted to either party without

                it.

        4.      The answers to these questions only impact the resolution of Defendants' pending

                Motion to Disqualify Plaintiffs Counsel if this Court dismisses Plaintiffs

                Complaint for his failure to first exhaust available remedies through the LLC's

                Operating Agreement. Otherwise it must be granted as Defendants and Plaintiff

                and the LLC have all be represented by Plaintiff's Counsel.

        WHEREFORE, Defendants pray this Court to dismiss Plaintiffs Complaint for lack of

· jurisdiction and other reasons, and for such other and fmther legal or equitable relief as to this

 Comt may be just and proper.




                                                             and

                                                           ~
                                                      JOSHUA R. LEONARD
                                                      2505 West 97'h Terrace
                                                      Leawood KS 66206
                                                      913-220-9929
                                                      E-Mail: joshrleonard@gmail.com

                                                      Defendants pro se




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     Case 2:18-cv-02247-CM-JPO Document 19 Filed 09/28/18 Page 3 of 3




                                CERTIFICATE OF SERVICE

        We hereby certify that on the 28 111 day of September, 2018, we transmitted a true and
correct copy of the above and foregoing Defendants 1 Motion to Dismiss for Lack of Subject
Matter Jurisdiction and Other Reasons:

       By first-class mail, postage prepaid and properly addressed to:
       Clerk of the United States District Court
       District of Kansas
       500 State Avenue
       Kansas City KS 66101

       By electronic mail transmission in pmiable document format (.pdf) to:
       Joel B. Laner
       E-Mail: hlblaw@swbell.net
       Attorney for Plaintiff


                                                    CHRISTIAN BLAKE FISHER

                                                            and


                                                    JO~
                                                    Defendants pro se




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